
		
OSCN Found Document:IN RE: RULES OF THE SUPREME COURT OF THER STATE OF OKLAHOMA ON LICENSED LEGAL INTERNSHIP 

					

				
  



				
					
					
						
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				IN RE: RULES OF THE SUPREME COURT OF THER STATE OF OKLAHOMA ON LICENSED LEGAL INTERNSHIP 2023 OK 119Case Number: 7589Decided: 12/11/2023THE SUPREME COURT OF THE STATE OF OKLAHOMA

Cite as: 2023 OK 119, __ P.3d __

				

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ORDER



This matter comes on before this Court upon an Application to Amend Rule 6.1 and Interpretation 2022-1 of the Rules of the Supreme Court of the State of Oklahoma on Licensed Legal Internship (hereinafter "Rules") filed on November 30, 2023. This Court finds that it has jurisdiction over this matter and Rule 6.1 and Interpretation 2022-1 is hereby amended as set out in Exhibits A and B attached hereto, effective immediately.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 11th day of DECEMBER, 2023.

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/S/CHIEF JUSTICE


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ALL JUSTICES CONCUR.


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EXHIBIT "A"

RULES OF THE SUPREME COURT ON LICENSE LEGAL INTERNS

RULE 6 TERM OF LIMITED LICENSE

Rule 6.1 Termination of the Limited License

The limited license shall terminate automatically when:

(a) A Licensed Legal Intern''s cumulative grade point average falls below a graduating grade point average for his or her particular law school.

(b) A Licensed Legal Intern no longer is working for an approved supervising attorney.

(c) A Licensed Legal Intern has passed the first bar examination given after the Licensed Legal Intern graduated from law school and is administered the oath by the Oklahoma Supreme Court admitting the Licensed Legal Intern as a practicing attorney.

(d) A Licensed Legal Intern has not finished requirements for graduation from law school within twenty-four months following being sworn in as a Licensed Legal Intern. Upon application and good cause being shown the Legal Internship Committee or the Supreme Court Reviewing Panel may extend the term of the limited license for a period not to exceed one year.

(e) For any reason a Licensed Legal Intern is no longer participating in an approved law school internship program without having completed the requirements for graduation. 

(f) The Licensed Legal Intern does not pass or fails to take the Oklahoma Bar Examination immediately subsequent to the Licensed Legal Intern''s graduation from law school. (See Interpretations 96-1, 97-3, 97-4, 98-5, 2000-1 and 2012-1.)

(1) However the Licensed Legal Intern may petition for reinstatement after failing the Bar Examination the first time by showing good cause and filing an appropriate law graduate application with the Executive Director of the Oklahoma Bar Association. Reinstatement petitions shall be heard by the Supreme Court Reviewing Panel.

(g) The Licensed Legal Intern otherwise fails to be administered the oath by the Supreme Court and admitted to practice immediately subsequent to the Licensed Legal Intern''s graduation from law school.

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EXHIBIT "B"

SUMMARY OF LEGAL INTERNSHIP RULE INTERPRETATION

2022-1 For the purposes of Rules 2.1(a), 2.1(e), 4.2, 5.1(d)(1), and 6.1(e) while each law school may impose more stringent requirements than these rules, the only "enrollment" required for certification of law student participation in an approved law school internship program is academic enrollment in a law school program leading to a Juris Doctor Degree.

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&nbsp;


&nbsp;

EXHIBIT "A"

RULES OF THE SUPREME COURT ON LICENSE LEGAL INTERNS

RULE 6 TERM OF LIMITED LICENSE

Rule 6.1 Termination of the Limited License

The limited license shall terminate automatically when:

(a) A Licensed Legal Intern''s cumulative grade point average falls below a graduating grade point average for his or her particular law school.

(b) A Licensed Legal Intern no longer is working for an approved supervising attorney.

(c) A Licensed Legal Intern has passed the first bar examination given after the Licensed Legal Intern graduated from law school and is administered the oath by the Oklahoma Supreme Court admitting the Licensed Legal Intern as a practicing attorney.

(d) A Licensed Legal Intern has not finished requirements for graduation from law school within twenty-four months following being sworn in as a Licensed Legal Intern. Upon application and good cause being shown the Legal Internship Committee or the Supreme Court Reviewing Panel may extend the term of the limited license for a period not to exceed one year.

(e) For any reason a Licensed Legal Intern is no longer enrolled participating in an approved law school internship program without having completed the requirements for graduation. A Licensed Legal Intern need not be enrolled in such a course for summer sessions or vacation periods.

(f) The Licensed Legal Intern does not pass or fails to take the Oklahoma Bar Examination immediately subsequent to the Licensed Legal Intern''s graduation from law school. (See Interpretations 96-1, 97-3, 97-4, 98-5, 2000-1 and 2012-1.)

(1) However the Licensed Legal Intern may petition for reinstatement after failing the Bar Examination the first time by showing good cause and filing an appropriate law graduate application with the Executive Director of the Oklahoma Bar Association. Reinstatement petitions shall be heard by the Supreme Court Reviewing Panel.

(g) The Licensed Legal Intern otherwise fails to be administered the oath by the Supreme Court and admitted to practice immediately subsequent to the Licensed Legal Intern''s graduation from law school.

*AMENDED BY BOARD OF GOVERNORS ON NOVEMBER 1, 2023

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EXHIBIT "B"

SUMMARY OF LEGAL INTERNSHIP RULE INTERPRETATION

2022-1 For the purposes of Rules 2.1(a), 2.1(e), 4.2, and 5.1(d)(1), and 6.1(e) while each law school may impose more stringent requirements than these rules, the only "enrollment" required for certification of law student participation in an approved law school internship program is academic enrollment in a law school program leading to a Juris Doctor Degree.

*AMENDED BY BOARD OF GOVERNORS ON NOVEMBER 1, 2023





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